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                                                                 1   BART K. LARSEN, ESQ.
                                                                     Nevada Bar No. 8538
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                                                                     Nevada Bar No. 13611
                                                                 3   KOLESAR & LEATHAM
                                                                     400 South Rampart Boulevard, Suite 400
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                                                                 7
                                                                     Attorneys for Debtor Virtual
                                                                 8   Communications Corporation

                                                                 9

                                                                10
                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                11
                    Tel: (702) 362-7800 / Fax: (702) 362-9472




                                                                                                     DISTRICT OF NEVADA
KOLESAR & LEATHAM




                                                                12
                          400 S. Rampart Blvd., Ste. 400




                                                                                                                ***
                            Las Vegas, Nevada 89145




                                                                13
                                                                      IN RE:                                            Case No. 18-12951-leb
                                                                14
                                                                      VIRTUAL COMMUNICATIONS                            Chapter 11
                                                                15    CORPORATION,
                                                                                                                        Date of Hearing: August 14, 2018
                                                                16                        Debtor.                       Time of Hearing: 9:30 a.m.

                                                                17
                                                                                            CERTIFICATE OF ACCEPTANCE OF
                                                                18                         DEBTOR’S PLAN OF REORGANIZATION
                                                                19          Debtor in Possession VIRTUAL COMMUNICATIONS CORPORATION (“Debtor”), by
                                                                20   and through its counsel, Bart K. Larsen, Esq. of the law firm of Kolesar & Leatham, hereby
                                                                21   submits its Certificate of Acceptance of Debtor’s Plan of Reorganization in accordance with
                                                                22   Local Rule 3018.
                                                                23          On June 25, 2018, in connection with the First Amended Chapter 11 Plan of
                                                                24   Reorganization for Virtual Communications Corporation [ECF No. 38] (the “Plan”) and First
                                                                25   Amended Disclosure Statement for Chapter 11 Plan of Reorganization for Virtual
                                                                26   Communications Corporation [ECF No. 39] (the “Disclosure Statement”), the Court entered its
                                                                27   Order (1) Conditionally Approving Adequacy of the Proposed Disclosure Statement to
                                                                28   Accompany Plan of Reorganization; and (2) Setting a Hearing on Confirmation of the Debtor’s

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                                                                 1   Chapter 11 Plan of Reorganization and Related Deadlines [ECF No. 42], which, among other

                                                                 2   things, scheduled a hearing to consider confirmation of the Plan to take place on August 14, 2018

                                                                 3   (the “Confirmation Hearing”), and required that the Debtor file a ballot summary no later than

                                                                 4   two days prior to the Confirmation Hearing.

                                                                 5              On June 29, 2018, Debtor served on all creditors, equity interest holders, and other

                                                                 6   parties-in-interest at such parties’ last known addresses (a) the Plan, (b) the Disclosure

                                                                 7   Statement, (c) the Disclosure Statement Order, (d) a Ballot for Accepting or Rejecting the Plan

                                                                 8   of Reorganization, and (e) Notice of: (i) Hearing on Debtor’s Disclosure Statement; (ii) Hearing

                                                                 9   on Confirmation of Debtor’s Plan of Reorganization and Procedures for Objecting to

                                                                10   Confirmation of the Plan; and (iii) Procedures and Deadlines for Voting on the Plan [ECF No.

                                                                11   48] (the “Confirmation Hearing Notice”). 1
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                                                                12              A.       Plan Ballot Summary
                          400 S. Rampart Blvd., Ste. 400
                            Las Vegas, Nevada 89145




                                                                13                   1. Proponent of Plan: VIRTUAL COMMUNICATIONS CORPORATION
                                                                14                   2. Are any competing plans filed with the court? No
                                                                15                   3. Cramdown requested: No
                                                                16                   4. Unimpaired Classes: No
                                                                17                   5. Impaired Classes: Yes
                                                                18                   6. Has any impaired Class accepted? Yes
                                                                19                   7. Class voting summary:

                                                                20       CLASS                                                 ACCEPT                      REJECT
                                                                                                                      % of Class  Amount           % of Class Amount
                                                                21       Class 1 (Impaired)
                                                                         Secured Claim of the Gewerter Law Office          100%         1,000.00
                                                                22

                                                                23       Class 2 (Impaired)
                                                                         Secured Claim of Julie Minushkin                  100%      $15,000.00
                                                                24
                                                                         Class 3 (Impaired)
                                                                25       Unsecured Promissory Notes                         81%    $3,547,103.00       19%     $836,642.00
                                                                         See Exhibit 1 attached hereto.
                                                                26

                                                                27
                                                                     1
                                                                28       See ECF No. 54.


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                                                                 1   CLASS                                                ACCEPT                        REJECT
                                                                                                                 % of Class  Amount             % of Class Amount
                                                                 2   Class 4 (Impaired)
                                                                     Artesia CPA, LLC                                 100%          $9,623.00
                                                                 3

                                                                 4   Class 5 (Impaired)
                                                                     Kenneth Brand                                       1%      1,000 shares
                                                                 5   George Diab                                        99%    106,000 shares

                                                                 6                                                    100%     107,000 shares

                                                                 7

                                                                 8          B.      Vote Tally
                                                                 9          Pursuant to 11 U.S.C. § 1126, the various Classes of Claims and Interests under the
                                                                10   Debtor’s Plan have accepted or rejected the Plan as follows:
                                                                11          Class 1:       Impaired       -      Vote to Accept
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                                                                12          Class 2:       Impaired       -      Vote to Accept
                          400 S. Rampart Blvd., Ste. 400
                            Las Vegas, Nevada 89145




                                                                13          Class 3:       Impaired       -      Vote to Accept
                                                                14          Class 4:       Impaired       -      Vote to Accept
                                                                15          Class 5:       Impaired       -      Vote to Accept
                                                                16

                                                                17          DATED this 10th day of August, 2018.
                                                                18                                               KOLESAR & LEATHAM
                                                                19
                                                                                                                 /s/ Bart K. Larsen, Esq.
                                                                20                                               Bart K. Larsen, Esq.
                                                                                                                 Nevada Bar No. 8538
                                                                21                                               400 S. Rampart Blvd., Ste. 400
                                                                                                                 Las Vegas, Nevada 89145
                                                                22
                                                                                                                 Attorneys for Debtor in Possession
                                                                23
                                                                                                                 Virtual Communications Corporation
                                                                24

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                                                                27

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Outcome of Voting of Class 3 Claims

                                                Accept                          Reject
Name                                   % of Class      Amount          % of Class      Amount
Alan Nicholson                          2.06%        $90,150.00
Anthony White                                                            0.59%      $25,942.00
Brian Graybill                           0.59%        $25,942.00
Calvin Garrett                           1.85%        $81,070.00
Carla J. Bates                           0.91%        $39,793.00
Carlos Linqui                            0.93%        $40,963.00
Carol Dunsmore                           1.26%        $55,128.00
Charlotte Vancura                        3.70%        $162,140.00
Charlotte Vancura                        2.07%        $90,799.00
Claire Janesh                            1.48%        $64,856.00
Claudy Strong                            0.92%        $40,211.00
David Brieske                            1.18%        $51,885.00
David Hart                               1.48%        $64,856.00
David P. Kocharhook                      0.59%        $25,942.00
Deborah Cook                             1.75%        $76,530.00
Donald Munro                             0.70%        $30,482.00
Dori Sullivan                            1.70%        $74,585.00
Ellen Scudder                            4.65%        $203,647.00
Erma Shepard                             0.95%        $41,508.00
Gabriele Lavermicocca                                                    2.96%      $129,712.00
Gary Kendig                              0.74%        $32,428.00
Gayle Chany                                                              1.75%      $76,530.00
Geraldine Kellison                       1.67%        $73,287.00
Henry Saugey                             3.61%        $158,249.00
Jackie Stone                             0.00%                           1.04%      $45,399.00
James Andreissen                         0.59%        $25,942.00
James Regehr                             2.22%        $97,284.00
James Regehr                             8.77%        $384,237.00
Janice Perry                             1.11%        $48,642.00
Jeanette Forrest                         0.27%        $11,704.00
Jessie Hobbs                             1.48%        $64,856.00
Joan Josey                               0.89%        $38,914.00
Joseph Nelson                            0.53%        $23,348.00
Joyce Asher-Nicholson                    2.77%        $121,281.00
Julian Bradberry                         1.48%        $64,856.00
Karen Nerden                             1.11%        $48,642.00
Kathleen Albert                          1.45%        $63,559.00
Kathleen Neisse                          0.72%        $31,780.00
Kendall Smith                                                            0.83%      $36,319.00
Larry A. Pianzio                                                         0.65%      $28,537.00
Larry Welch                              0.74%        $32,428.00
Linda Bailie                             1.04%        $45,399.00
Major L. Stroupe                         1.04%        $45,399.00
Marilyn Rogers                           1.18%        $51,885.00
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Name                                          % of Class        Amount               % of Class         Amount
Marilyn Tovar                                  0.44%           $19,457.00
Mark Tovar                                     1.07%           $46,815.00
Marcia Potts                                   0.77%           $33,725.00
Mary Allen                                     0.61%           $26,591.00
Mary Parker*                                   0.84%           $36,968.00
Matthew Gudgel                                 1.78%           $77,827.00
Mikhail Cherner                                0.58%           $25,294.00
Natasha Kinlaw                                 0.51%           $22,237.00
Norma Kidd                                     1.04%           $45,399.00
Patricia Clark                                 1.09%           $47,994.00
Patrick Walsh                                  0.80%           $35,022.00
Reva Waldo                                                                             3.28%           $143,981.00
Robert Kaiser                                                                          1.24%           $54,479.00
Robin Suntheimer                                                                       1.04%           $45,399.00
Sandra Pak                                       0.74%         $32,428.00
Scott Gomez                                      0.62%         $27,240.00
Silvana Briguglio                                1.27%         $55,593.00
Silvia B. Harrington                             0.47%         $20,754.00
Stephen Ghesquiere                                                                     1.95%           $85,610.00
Steve Hotchkiss                                                                        2.22%           $97,284.00
Susan Rogge                                      0.95%         $41,508.00
Sylvia Lewis                                     0.68%         $29,834.00
Terry Laughlin                                   0.59%         $25,942.00
Thomas Moffit                                    0.67%         $29,185.00
Troy Suntheimer                                                                        1.54%           $67,450.00
Walter Wooldridge                                1.78%         $77,827.00
William Guy                                      1.48%         $64,856.00
                                                80.91%        $3,547,103.00            19.09%          $836,642.00




* Mary Parker's ballot voting to accept the Plan was received by Debtor's counsel on August 8, 2018.
